                              Case 24-11967-JKS                      Doc 1        Filed 09/09/24            Page 1 of 23

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Big Lots, Inc.
                                              ______________________________________________________________________________________________________



                                              None.
 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                   0 6      1 1 1 9 0 9 7
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                               4900 E. Dublin-Granville Road
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                               Columbus                   OH       43081
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code

                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              Franklin
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://www.biglots.com
                                              ____________________________________________________________________________________________________




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
                               Case 24-11967-JKS               Doc 1        Filed 09/09/24             Page 2 of 23

Debtor        Big Lots, Inc.
              _______________________________________________________                      Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         ✔



                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above
                                         ✔




                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             4 ___
                                             ___ 5 ___
                                                   5 ___
                                                       2
 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                         ✔



                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                              insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                              4/01/25 and every 3 years after that).
                                                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                              debtor is a small business debtor, attach the most recent balance sheet, statement
                                                              of operations, cash-flow statement, and federal income tax return or if all of these
                                                              documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                              chooses to proceed under Subchapter V of Chapter 11.

                                                          A plan is being filed with this petition.
                                                          Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                          ✔

                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases       
                                        ✔ No
      filed by or against the debtor
      within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY


 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
                                Case 24-11967-JKS               Doc 1         Filed 09/09/24          Page 3 of 23

Debtor        Big Lots, Inc.
              _______________________________________________________                      Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases            No
     pending or being filed by a                       See Schedule 1 attached                                    Affiliate
     business partner or an              Yes. Debtor _____________________________________________
                                         ✔
                                                                                                    Relationship _________________________
     affiliate of the debtor?                                District of Delaware
                                                   District _____________________________________________ When              __________________
     List all cases. If more than 1,                                                                                        MM / DD / YYYY
     attach a separate list.                       Case number, if known ________________________________



 11. Why is the case filed in this      Check all that apply:
     district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                             district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                         ✔




 12. Does the debtor own or have         No
                                         ✔

     possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard? _____________________________________________________________________

                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                   Other _______________________________________________________________________________


                                                  Where is the property?_____________________________________________________________________
                                                                              Number       Street

                                                                              ____________________________________________________________________

                                                                              _______________________________________      _______ ________________
                                                                              City                                         State ZIP Code


                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency ____________________________________________________________________
                                                           Contact name       ____________________________________________________________________

                                                           Phone              ________________________________




             Statistical and administrative information            [Provided on a Consolidated Basis Among All Related Debtors]



 13. Debtor’s estimation of             Check one:
     available funds                     Funds will be available for distribution to unsecured creditors.
                                         ✔


                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                             1,000-5,000                             25,001-50,000
 14. Estimated number of
                                         50-99                            5,001-10,000
                                                                          ✔
                                                                                                                    50,001-100,000
     creditors
                                         100-199                          10,001-25,000                           More than 100,000
                                         200-999

 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 3
                             Case 24-11967-JKS                   Doc 1          Filed 09/09/24           Page 4 of 23

Debtor      Big Lots, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                                                                                          ✔


                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                                                                                                          ✔


                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                          9/9/2024 _______
                                             Executed on __________
                                                         MM / DD / YYYY


                                          /s/ Jonathan Ramsden
                                             _____________________________________________                 Jonathan Ramsden
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Chief Financial and Administrative Officer
                                             Title _________________________________________




 18. Signature of attorney
                                               /s/ Robert J. Dehney
                                             _____________________________________________                Date
                                                                                                                     9/9/2024
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM       / DD / YYYY



                                              Robert J. Dehney
                                             _________________________________________________________________________________________________
                                             Printed name
                                              Morris, Nichols, Arsht & Tunnell LLP
                                             _________________________________________________________________________________________________
                                             Firm name
                                              1201 North Market Street, 16th Floor
                                             _________________________________________________________________________________________________
                                             Number     Street
                                              Wilmington
                                             ____________________________________________________             DE
                                                                                                             ____________  19899
                                                                                                                          ______________________________
                                             City                                                            State        ZIP Code

                                              (302) 658-9200
                                             ____________________________________                             rdehney@morrisnichols.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                              3578
                                             ______________________________________________________  DE
                                                                                                    ____________
                                             Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 4
               Case 24-11967-JKS          Doc 1     Filed 09/09/24      Page 5 of 23




                   IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 11

BIG LOTS, INC., et al.,                                    Case No. 24-[•] ([•])

               Debtors.                                    (Joint Administration to be Requested)



                                SCHEDULE 1 TO PETITION

        On the date hereof, each of the entities listed below, including the debtor in this chapter
11 case (collectively, the “Debtors”), has filed or will file a petition for relief in the United
States Bankruptcy Court for the District of Delaware under chapter 11 of title 11 of the United
States Code. The Debtors will move for joint administration of their cases for procedural
purposes only under the case number assigned to the chapter 11 case of Big Lots, Inc.

                               Big Lots, Inc.
                               Great Basin, LLC
                               Big Lots Management, LLC
                               Consolidated Property Holdings, LLC
                               Broyhill LLC
                               Big Lots Stores - PNS, LLC
                               Big Lots Stores, LLC
                               BLBO Tenant, LLC
                               Big Lots Stores - CSR, LLC
                               CSC Distribution LLC
                               Closeout Distribution, LLC
                               Durant DC, LLC
                               AVDC, LLC
                               GAFDC LLC
                               PAFDC LLC
                               WAFDC, LLC
                               INFDC, LLC
                               Big Lots eCommerce LLC
                               Big Lots F&S, LLC
                             Case 24-11967-JKS                 Doc 1          Filed 09/09/24           Page 6 of 23
Official Form 201A (12/15)        IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF DELAWARE


       In re:                                                                         Chapter 11

       BIG LOTS, INC., et al.,                                                        Case No. 24-[•] ([•])

                             Debtors.                                                 (Joint Administration to be Requested)



                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is _______________.
                                       001-08897


             2. The following financial data is the latest available information and refers to the debtor=s condition on
        ______________.
        May 4, 2024


              a. Total assets                                                              $ 3,178,342,000

              b. Total debts (including debts listed in 2.c., below)                       $ 3,096,901,000
              c. Debt securities held by more than 500 holders
                                                                                                                            Approximate
                                                                                                                            number of
                                                                                                                            holders:

              secured        G   unsecured   G     subordinated       G     $
              secured        G   unsecured   G     subordinated       G     $
              secured        G   unsecured   G     subordinated       G     $
              secured        G   unsecured   G     subordinated       G     $
              secured        G   unsecured   G     subordinated       G     $

              d. Number of shares of preferred stock                                                                         0 shares issued
              e. Number of shares common stock                                                                               117,495,000 shares issued



              Comments, if any:



              3. Brief description of debtor=s business: Big Lots is a nationwide, discount retailer.



            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
        FMR LLC; Liechtensteinische Landesbank AG; The Vanguard Group, Inc.




        Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
    Fill in this information to identify the case:
                                                     Case 24-11967-JKS                    Doc 1          Filed 09/09/24                   Page 7 of 23
    Debtor name    Big Lots, Inc.
    Debtor name
    United States Bankruptcy Court for the:                                                     District of Delaware
                                                                                                District of (State)
                                                                                                        (State)
    Case number (If known):
    Case number (If known):




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are
    Not Insiders                                                                                                                                                                                        12/15

A list of consolidated creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by
any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 30 largest unsecured claims

       Name of creditor and complete mailing            Name, telephone number, and email address      Nature of the      Indicate if claim   Amount of unsecured claim
       address, including zip code                      of creditor contact                                 claim          is contingent,     If the claim is fully unsecured, fill in only unsecured claim
                                                                                                       (for example,      unliquidated, or    amount. If claim is partially secured, fill in total claim amount
                                                                                                        trade debts,          disputed        and deduction for value of collateral or setoff to calculate
                                                                                                        bank loans,                           unsecured claim.
                                                                                                        professional
                                                                                                       services, and
                                                                                                        government
                                                                                                                                                 Total claim, if     Deduction for value      Unsecured claim      -
                                                                                                                                                partially secured      of collateral or
                                                                                                          contracts)                                                        setoff
1  ASHLEY FURNITURE                                     TODD WANEK - CEO                                Trade Debt                                                                                   $12,281,796
   PO BOX 190                                           608-886-7773
   ARCADIA                                              TWANEK@ASHLEYFURNITURE.COM
   WI
   54612-0190
   US
2 SERTA INC                                             MARK GENENDER - CHAIRMAN                        Trade Debt                                                                                    $5,956,768
   2600 FORBS AVE                                       310-909-6878
   HOFFMAN ESTATES                                      MGENENDER@SERTASIMMONS.COM
   IL
   60192-3723
   US
3 BIG AVCA OWNER LLC                                    C/O BLUE OWL REAL ESTATE CAPITAL            Real Property Lease                                                                               $4,329,538
   30 NORTH LASALLE, SUITE 4140                         LLC - DREW WIDES
   CHICAGO                                              773-389-6523
   IL                                                   DREW.WIDES@BLUEOWL.COM
   60602
   US
4 SEALY INC                                             STEVE RUSING - PRESIDENT                        Trade Debt                                                                                    $4,240,250
   PO BOX 931855                                        646-295-5043
   ATLANTA                                              STEVE.RUSING@TEMPURSEALY.COM
   GA
   31193-1855
   US
5 EVERSTAR MERCHANDISE CO                               ANDY PAN                                        Trade Debt                                                                                    $3,786,843
   UNIT 12 13 11F HATBOUR CNTR TWR1                     86-755-616825
   KOWLOON                                              PAN4190@HOTMAIL.COM
   CN
6 FUSION FURNITURE INC.                                 MARK WEBER - CEO                                Trade Debt                                                                                    $3,262,323
   PO BOX 734183                                        662-509-5578
   DALLAS                                               MWEBER@SOUTHERNMOTION.COM
   TX
   75373-4183
   US
7 ELITE COMFORT SOLUTIONS                               TIM LANDERS - VP SALES                          Trade Debt                                                                                    $2,637,484
   CONOVER                                              803-370-3102
   NC                                                   TIM.LANDERS@ELITECOMFORTSOLUTION
   28613                                                S.COM
   US
8 ZEST GARDEN LIMITED                                   NINA TRUONG - PRESIDENT                         Trade Debt                                                                                    $2,254,976
   10F NO 143 SHIH SHANG RD SHIHLIN                     909-438-7937
   TAIPEI                                               NINA@CONCORDCITYA.COM
   TW
9 FXI INC                                               HAROLD EARLY CEO/ KEVIN BLOSSOM                 Trade Debt                                                                                    $2,233,611
   PO BOX 747067                                        GM
   ATLANTA                                              KEVIN 704-775-2925 HAROLD 215-498-4316
   GA                                                   KBLOSSOM@FXI.COM,
   30374-7067                                           HEARLEY@FXI.COM
   US
10 PAN ASIAN CREATIONS LIMITED                          STEPHEN LEE                                     Trade Debt                                                                                    $2,183,746
   5F-6 NO 294 SEC 1 DUNHUA S RD                        86-755-27977-1666
   DA-AN DIST TAIPEI
   TW
11 POLYGROUP EVERGREEN LIMITED                          RICKY TONG                                      Trade Debt                                                                                    $2,157,316
   UNIT 606, FAIRMONT HOUSE                             86-769-8391-5520
   HONG KONG                                            RICKY.TONG@POLYGROUP.COM
   CN
12 ROUND TRIPPING LTD                                   SHERYL TING                                     Trade Debt                                                                                    $2,146,393
   14/F Shui Centre 6-8 Harbour Rd.                     852-2972-8729
   Wanshai                                              SHERYL@FIRSTE.COM.HK
   HK
13 KEECO, LLC/22155                                     STEVE HENDERSON CMO PRESIDENT                   Trade Debt                                                                                    $2,119,776
   PO BOX 809207                                        775-843-9259
   CHICAGO                                              SHENDERSON@IKEECO.COM
   IL
   60680
   US



     Official Form 204                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                             page 1
 Fill in this information to identify the case:
                                                  Case 24-11967-JKS                   Doc 1                Filed 09/09/24              Page 8 of 23
  Debtor name    Big Lots, Inc.
  United States Bankruptcy Court for the:                                                   District of    Delaware
                                                                                                          (State)
  Case number (If known):




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are
Not Insiders                                                                                                                                                                                         12/15

A list of consolidated creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by
any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 30 largest unsecured claims

     Name of creditor and complete mailing          Name, telephone number, and email address         Nature of the    Indicate if claim   Amount of unsecured claim
     address, including zip code                    of creditor contact                                    claim        is contingent,     If the claim is fully unsecured, fill in only unsecured claim
                                                                                                      (for example,    unliquidated, or    amount. If claim is partially secured, fill in total claim amount
                                                                                                       trade debts,        disputed        and deduction for value of collateral or setoff to calculate
                                                                                                       bank loans,                         unsecured claim.
                                                                                                       professional
                                                                                                      services, and
                                                                                                       government
                                                                                                                                              Total claim, if     Deduction for value      Unsecured claim      -
                                                                                                                                             partially secured      of collateral or
                                                                                                         contracts)                                                      setoff
14 PPJ LLC                                          PHIL MCCARTY - CEO                                    Trade Debt                                                                               $2,027,334
   2 CARSHA DRIVE                                   617-930-8733
   NATICK                                           PHIL.MCCARTY@CUSTOMATICBEDS.COM
   MA
   01760-4658
   US
15 AMERIWOOD INDUSTRIES                             NORMAN BRAUNSTEIN - CEO                               Trade Debt                                                                               $1,936,980
   410 E FIRST ST. SOUTH                            514-934-3034
   WRIGHT CITY                                      NORMAN.BRAUNSTEIN@DOREL.COM
   MO
   63390
   US
16 SINGSONG INTERNATIONAL TRADE CO LIM              SUNNY ZHANG                                           Trade Debt                                                                               $1,870,485
   ROOM 1405A 14/F LUCKY CENTRE                     86-21-5813-4099
   CN                                               SUNNY@SINGSONG.COM.CN
17 ALL COURTESY INT'L LTD                           JLIE ZHU                                              Trade Debt                                                                               $1,782,876
   FLAT/RM E9F HOLLYWOOD CENTRE                     86-755-8325-3709
   TST KOWLONG HK                                   JULIE@CENTRESKY.COM.CN
   999077
   CN
18 GIFTREE CRAFTS CO LTD                            JOE PENG                                              Trade Debt                                                                               $1,737,473
   NO 50 FAGANG DEVELOPMENT                         86-755-6113-2862
   SHENZHEN GUANGDONG                               JOEPENG@GIFTREE.NET
   CN
19 CARLINGTON INDUSTRIES LIMITED                    BILLY YU - PRINCIPLE                                  Trade Debt                                                                               $1,670,896
   ROOM 1114 SINCERE HOUSE 83 ARGYLE                86-15920245665
   HONG KONG                                        BILLY@CARLINGTON.COM.TW
   HK
20 NINGBO ELECTRICAL APPLIANCE CO., LT              John Link                                             Trade Debt                                                                               $1,611,329
   NO 758 KAIFA EAST ZHOUXIANG                      224-246-8072
   CIXI NINGBO                                      john.link@gdhwd.com
   CN
21 3M COMPANY                                       COLBY RING                                            Trade Debt                                                                               $1,586,000
   PO BOX 371227                                    6517331935
   PITTSBURGH                                       CRING@MMM.COM
   PA
   15250-7227
   US
22 MILLENNIUM GIFTS LTD                             PETER CHUANG VP SALES                                 Trade Debt                                                                               $1,475,143
   HONGFAN BUILDING JIANGNAN                        86-595-2467-1815
   QUANZHOU FUJIAN                                  PETER@HONGFANGIFTS.COM
   CN
23 ZHEJIANG HENGTAI CRAFTS                          CAIN WANG                                             Trade Debt                                                                               $1,388,347
   HEHUA RD BAIHUASHAN INDUSTRIAL ARE               86-134-2907-5766
   YIWU ZHEJIANG                                    CAIN@CHRISTMASCN.COM
   CN
24 BUILDING AIR SERVICES HVAC LLC                   STEVE BOOSE                                           Trade Debt                                                                               $1,328,798
   10460 68TH ST NORTH                              727-412-2114
   PINELLAS PARK                                    SBOOSE@COOLSYS.COM
   FL
   33782-2360
   US
25 BOSTON WAREHOUSE CORP                            ALAN KANTER                                           Trade Debt                                                                               $1,304,295
   59 DAVIS AVE                                     401-523-7695
   NORWOOD                                          ALAN.KANTER@BWTC.COM
   MA
   02062-3031
   US
26 DELL FINANCIAL SERVICES LLC                      MARK HOECK                                            Trade Debt                                                                               $1,279,002
   PO BOX 5292                                      513-550-3555
   CAROL STREAM                                     MARK.HOECK@DELL.COM
   IL
   60197-6547
   US
27 HONGKONG GMS INTL CO LTD                         CARL GUO OWNER                                        Trade Debt                                                                               $1,233,484
   8TH FLR TIANXIN BLDG                             0086-513-8118231
   NANTONG JIANGSU                                  CARL@FUTINGTEXTILES.COM
   CN


   Official Form 204                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                page 2
 Fill in this information to identify the case:
                                                  Case 24-11967-JKS                   Doc 1                Filed 09/09/24              Page 9 of 23
  Debtor name    Big Lots, Inc.
  United States Bankruptcy Court for the:                                                   District of    Delaware
                                                                                                          (State)
  Case number (If known):




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are
Not Insiders                                                                                                                                                                                         12/15

A list of consolidated creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by
any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 30 largest unsecured claims

     Name of creditor and complete mailing          Name, telephone number, and email address         Nature of the    Indicate if claim   Amount of unsecured claim
     address, including zip code                    of creditor contact                                    claim        is contingent,     If the claim is fully unsecured, fill in only unsecured claim
                                                                                                      (for example,    unliquidated, or    amount. If claim is partially secured, fill in total claim amount
                                                                                                       trade debts,        disputed        and deduction for value of collateral or setoff to calculate
                                                                                                       bank loans,                         unsecured claim.
                                                                                                       professional
                                                                                                      services, and
                                                                                                       government
                                                                                                                                              Total claim, if     Deduction for value      Unsecured claim      -
                                                                                                                                             partially secured      of collateral or
                                                                                                         contracts)                                                      setoff
28 TWIN STAR INTERNATIONAL                          HEATHER BROWN                                         Trade Debt                                                                               $1,231,380
   1690 S CONGRESS AVE STE 210                      561-252-5700
   DELRAY BEACH                                     HBROWN@TWINSTARHOME.COM
   FL
   33445-6330
   US
29 TOPMOST DESIGN CO LTD                            LINDBERGH LIN                                         Trade Debt                                                                               $1,198,255
   3FL-19, NO.3 TIEN MOU RD                         886-2-2874-1966
   TAIPEI                                           LINDBERGH@ELUCEO.COM.TW
   TW
30 ESI CASES AND ACCESSORIES INC                    MARIA TORRES                                          Trade Debt                                                                               $1,117,850
   44 E 32ND ST 6TH FLOOR                           212-883-8838-124
   NEW YORK                                         JET@ESICELLULAR.COM
   NY
   10016-5508
   US




   Official Form 204                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                page 3
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                  IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 11

BIG LOTS, INC., et al.,                                         Case No. 24-[•] ([•])

                Debtors.                                        (Joint Administration to be Requested)




                 CONSOLIDATED CORPORATE OWNERSHIP
            STATEMENT AND LIST OF EQUITY INTEREST HOLDERS

        Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy
Procedure (the “Bankruptcy Rules”), and to enable the Judges to evaluate possible
disqualification or recusal, attached hereto as Exhibit A is a corporate structure chart (the
“Corporate Structure Chart”) reflecting the ownership interests of Big Lots, Inc. and
certain of its affiliates (collectively, the “Debtors”), each of which is a debtor and debtor
in possession in the above-captioned chapter 11 cases (the “Chapter 11 Cases”). The
Debtors respectfully represent, as of the date hereof, the following:

            1. Each of the Debtors1 identified on the Corporate Structure Chart, other than
               Big Lots, Inc., is owned in its entirety by its direct parent.

            2. Big Lots, Inc. is the ultimate parent of each of the Debtors, and its equity
               securities are publicly held as follows (as of May 4, 2024):

                   Amount Authorized               Amount Issued             Amount Outstanding
                       298,000,000                   117,495,000                   29,515,000

            3. There are no entities that own 10% or more of the issued and outstanding
               common stock of Big Lots, Inc.




       1
         The address of the Debtors’ corporate headquarters is 4900 E. Dublin-Granville Road, Columbus,
OH 43081.
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                       Exhibit A

               Corporate Structure Chart
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                                                                                                                                 Ownership is 100%                  Operating Company
                                                                                             Big Lots, Inc.                       unless otherwise                  Holding Company
                                                                                                 (Ohio)                               indicated
                                                                                                                                                                    Borrower and Guarantor – ABL
  Consolidated Property                                                                                                                                             Borrower – Term Loan




                                                                                                                                                                                                   davispolk.com
      Holdings, LLC                                                                                                                All entities are
(Ohio LLC; PPOB: Nevada)                                                                                                         chapter 11 Debtors                 Guarantor – Term Loan
                                                                                       Big Lots Management, LLC
                                                                                            FKA BLHQ LLC
                                                                                                 (Ohio)
      Broyhill LLC
         (Ohio)


                                  Big Lots Stores - PNS, LLC                             Big Lots Stores, LLC                                    BLBO Tenant, LLC
                                          (California)                                          (Ohio)                                                (Ohio)




     Big Lots Stores - CSR, LLC                                 CSC Distribution LLC                               Closeout Distribution, LLC                         Durant DC, LLC
               (Ohio)                                                (Alabama)                                           (Pennsylvania)                                   (Ohio)




            AVDC, LLC                                                GAFDC LLC                                            PAFDC LLC                                    WAFDC, LLC
              (Ohio)                                                   (Ohio)                                               (Ohio)                                       (Ohio)

                                                                                                                                                                                                   +

            INFDC, LLC                                            Great Basin, LLC                                 Big Lots eCommerce LLC                            Big Lots F&S, LLC
               (Ohio)                                                (Delaware)                                              (Ohio)                                        (Ohio)
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 Fill in this information to identify the case and this filing:


              Big Lots, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

         
         ✔
           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         ✔                                           Consolidated Corporate Ownership Statement
           Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    9/8/2024
        Executed on ______________                          /s/ Jonathan Ramsden
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Jonathan Ramsden
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Financial and Administrative Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
